Case 2:04-cV-02566-SHI\/|-tmp Document 23 Filed 06/23/05 Page 1 of 3 Page|D 30

 

     

UNITED sTATEs DISTRICT CoURT F"-E~) -.Y a
FoR THE WBSTERN DISTRICT TENNESSEE
AT MEMPHIS 95 JUN 23 PH J. q .

JOE BRUCE, JR. and ANNIE BRUCE t`~‘>"* a a - .::-iio

Plaimiffs <"~*"-:-i -f<-,. ’~'i€-. fruit <':r.
W.D. O_‘~ `i`i\!, g',j._‘\';l;;j.{!»$

v. No. 04-2566-Ma P

TENNBSSEE vALLEY AUTHORITY,

ET AL.

Defendants

 

AGREED ORDER OF DISMISSAL

 

This action came on to be considered, and it appearing to the Court that
the Plaintiffs, Joe Bruce, Jr. and Annie Bruce, Defendant, Tennessee Va]ley Authority,
and Defendant Per'rnanent General Assurance Corporation, acting by and through
counsel, as shown by the signatures below, have settled and compromised all matters
in controversy in this action, and have agreed that this action should be dismissed
With prejudice;

It is hereby ORDERED, ADJUDGED, AND DECREED that this action
be, and hereby is, dismissed with prej udice, with the parties to bear their own costs and
expenses, including attorneys’ fees.

111 J"'~"*A-

day of yZ?

United States District Judge

Done this

 

 

Th"s document entered on the docks she/atf r.anca 1

  

With F\u!e 58 anchor 79(a} E'liCZ-" on

 

Case 2:04-cV-O2566-SHI\/|-tmp Document 23 Filed 06/23/05 Page 2 of 3 Page|D 31

We hereby approve and consent to the entry of this order:

Robert M. Branrr;;iv,lr;_’_/./
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Memphis, Tennessee 38103-1911
Telephone 901-521-1710

Attorney for Plaintift`s

____-f `

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Permanent General Assurance Corporation

003736239

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 2:04-CV-02566 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

ESSEE

 

Thornas A. Robins

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Honorable Sarnuel Mays
US DISTRICT COURT

